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    AO 245D (Rev. 09/ 19)    J udgmenl in a Criminal Case for Revocations
                             Sheel I



                                           UNITED STATES DISTRICT COURT
                                                               Southern District of Ohio

                UNITED STATES OF AMERICA                                    )) JUDGMENT IN A CRIMINAL CASE
                                      V.                                    )   (For Revocation of Probation or Supervised Release)
                            Jermaine Thomas                                 )
                                                                            )
                                                                            ) Case No. 1:12cr006 & 1:12cr077
                                                                            ) USM No. 70110-061
                                                                            )
                                                                            )   Karen Savir, Esq.
THE DEFENDANT:                                                                                            Defendant 's Attorney

~ admitted guilt to violation of condition(s)                   see below                       of the term of supervision.
D      was found in violation of condition(s) count(s)                                      after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                   Nature of Violation                                                                  Violation Ended
1                                    New law violation                                                               12/02/2020
3                                    New law violation                                                               02/07/2021
4                                    New law violation                                                               02/07/2021


       The defendant is sentenced as provided in pages 2 through                    3      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D      The defendant has not violated condition(s)                                 and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0320                                                          11/09/2021
                                                                                                    Date oflmpositi n of}?sment           ~
Defendant' s Year of Birth:
                                                                                ~ , ( ~-
City and State of Defendant's Residence:                                                                  Signature of Judge
Cincinnati, O~
                                                                                        Michael R. Barrett, United States District Judge


                                                                                 ~                       "·;;;;·~:.!
                                                                                                                 Date
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DEFENDANT: Jermaine Thomas
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                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least JO days before the change. If notifying the
       probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       pem1ission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization}, the probation officer
       may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
       contact the person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                           Date
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                          Sheet 3B - Supervised Release
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  DEFENDANT: Jermaine Thomas
  CASE NUMBER: 1: 12cr006 & 1: 12cr077

                                    ADDITIONAL SUPERVISED RELEASE TERMS
His current term of supervised release is continued, with the following
modification:

The defendant shall participate in the Home Detention component of the location monitoring
program for a period of 120 days.

While on home detention in the location monitoring program, he is restricted to his residence at all times, except for
employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits; court
appearances; courtordered obligations; or other activities as preapproved by the officer.

The defendant shall be monitored by the use of radio frequency (RF). He shall abide by all of the requirements established
by the probation office related to the use of this location monitoring technology.

The defendant shall pay all or part of the costs of location monitoring based on his ability to pay as determined by the
probation officer.
